
55 So.3d 677 (2011)
Simmie KENDRY, Appellant,
v.
Edwin G. BUSS, Secretary, Florida Department of Corrections, Appellee.
No. 1D10-1502.
District Court of Appeal of Florida, First District.
February 24, 2011.
Simmie Kendry, pro se, Appellant.
Pamela Jo Bondi, Attorney General, and Anne C. Conley, Assistant Attorney General, Tallahassee, for Appellee.
PER CURIAM.
AFFIRMED. See Baker v. State, 878 So.2d 1236 (Fla.2004); see also Buford v. State, 403 So.2d 943 (Fla.1981); State v. Wells, 466 So.2d 291 (Fla. 2d DCA 1985); Cooper v. State, 453 So.2d 67 (Fla. 1st DCA 1984).
VAN NORTWICK, THOMAS, and MARSTILLER, JJ., concur.
